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           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                 :
                                          :
      v.                                  :   Case No. 1:23-288-BAH-02
                                          :
JEANETTE MANGIA,                          :
    Defendant.                            :



           NOTICE OF PUBLIC AUTHORITY DEFENSE

     Defendant, Jeanette Mangia, through counsel, and pursuant to

Federal Rule of Criminal Procedure 12.3, hereby gives notice that she

may assert as a defense at trial that he was acting under actual or

believed public authority at the time of some of the alleged offenses.

     Ms. Mangia submits that, on or about January 6, 2021, she was

and believed she was directed and authorized to march to the Capitol

building and enter the Capitol Grounds by Donald J. Trump and his

various agents and representatives. At the time, Mr. Trump was vested

with the full authority of the Executive Branch as President of the

United States of America and was acting under color of that authority.




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                                            Respectfully Submitted,

                                                              Digitally signed
                                              Allen H.        by Allen H.
                                                              Orenberg
                                              Orenberg        Date: 2024.05.21
                                                              11:27:29 -04'00'
                                            ____________________________
                                            Allen H. Orenberg, # 395519
                                            The Orenberg Law Firm, LLC
                                            200-A Monroe Street, Suite 233
                                            Rockville, Maryland 20850
                                            Tel. No. (301)301-807-3847
                                            Fax No. (240) 238-6701
                                            aorenberg@orenberglaw.com
                                            Counsel for Jeanette Mangia



                       CERTIFICATE OF SERVICE

     I hereby certify on the 21st day of May, 2024, a copy of the

foregoing Defendant’s Notice of Public Authority Defense was delivered

to the parties of record, by CM/ECF pursuant to the rules of the Clerk of

Court.




                                        Allen H.             Digitally signed by
                                                             Allen H. Orenberg

                                        Orenberg             Date: 2024.05.21
                                                             11:27:52 -04'00'
                                            Allen H. Orenberg


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